DATE: July 5, 2023


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Michael Melvin Fary
             v. Commonwealth of Virginia
             Record No. 1079-21-2
             En banc opinion rendered by Judge Humphreys on
              April 18, 2023

          2. Shiye Qiu
             v. Chaoyu Huang, Anna Ouspenskaya and
                Arlene Starace
             Record No. 0459-22-4
             Opinion rendered by Chief Judge Decker on
              April 18, 2023

          3. Marcus C. Holman, s/k/a Marcus Cleophus Holman
             v. Commonwealth of Virginia
             Record No. 0629-22-2
             Opinion rendered by Judge Ortiz on
              April 18, 2023

          4. Keith Elwood Hargrove
             v. Commonwealth of Virginia
             Record No. 1351-21-2
             Opinion rendered by Judge O’Brien on
              May 2, 2023

          5. Tiziano M. Scarabelli, M.D.
             v. Kenneth Ellenbogen, M.D., Antonio Abbate, M.D.,
                Stephanie Call, M.D. and MCV Associated Physicians
             Record No. 0421-22-2
             Opinion rendered by Judge Ortiz on
              May 2, 2023

          6. John E. Nestler, M.D. and Stephanie Call, M.D.
              v. Tiziano M. Scarabelli, M.D., Harris D. Butler, III and
                 Butler Curwood, PLC
              Record No. 0497-22-2
              Opinion rendered by Judge Ortiz on
               May 2, 2023
7. Eleanor A. Hunter, Individually and as Trustee of the
    Third Amended and Restated Theresa E. Hunter
    Revocable Living Trust Agreement,
    Second Amended and Restated Charles M. Hunter
    Revocable Living Trust Agreement and
    Shannon Brodrick Hunter Trust
   v. Charles M. Hunter, Jr.
   Record No. 0555-22-1
   Opinion rendered by Judge Raphael on
    May 2, 2023

8. Margaret Williams
   v. Pamela Legere, Catherine Allport,
      Tom Mainor, Tina Reitzel and
      The City of Williamsburg
   Record No. 1225-22-1
   Opinion rendered by Judge White on
    May 2, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Markquall Antwoine Canada
   v. Commonwealth of Virginia
   Record No. 1105-21-3
   Opinion rendered by Judge Humphreys
     on August 30, 2022
    Refused (220606)

2. Jaquan Ramone Brown
    v. Commonwealth of Virginia
   Record No. 0722-21-3
    Opinion rendered by Judge Friedman
      on September 6, 2022
      Refused (220632)
